               Case 2:20-cv-00738-TSZ Document 21 Filed 07/17/20 Page 1 of 4



 1                                                                    The Honorable Thomas S. Zilly
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12                              UNITED STATES DISTRICT COURT
13                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                        NO. 2:20-cv-00738-TSZ
17                         Plaintiff,
18                                                        DECLARATION OF ALISON I. STEIN
19            v.
20
21   DOES 1-20, d/b/a, ANXCHIP.COM,
22   AXIOGAME.COM, FLASHCARDA.COM,
23   MOD3DSCARDS.COM, NX-CARD.COM,
24   SXFLASHCARD.COM, TXSWITCH.COM,
25   and USACHIPSS.COM,
26
27                         Defendants.
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29
30
31           Pursuant to the Court’s Order Granting Plaintiff’s Motion for Leave to Serve Process by
32
33   Alternative Means (Dkt. 20), I hereby declare that, on July 16, 2020, I emailed Defendants in the
34
35   above-captioned matter the following documents:
36
37           1. The Summons and Complaint in this action (Dkts. 1 & 9);
38
39           2. This Court’s Order Granting Plaintiff’s Motion for Leave to Serve Process By
40
41                 Alternative Means (Dkt. 20);
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43           3. The order from the Court regarding initial disclosures and scheduling (Dkt. 11);
44
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     -1                                                             G O RD O N   600 University Street
     No. 2:20-cv-00738                                                TILDEN     Suite 2915
                                                                    THOMAS       Seattle, WA 98101
                                                                   CORDELL       206.467.6477
               Case 2:20-cv-00738-TSZ Document 21 Filed 07/17/20 Page 2 of 4



 1           4. The ECF minute entry by the clerk on June 30, 2020 extending the deadlines set forth
 2
 3               in the Court’s scheduling order (Dkt. 11) by 30 days.
 4
 5
 6   I emailed the foregoing documents to the following addresses:
 7
 8    Defendant                  Associated Email Addresses
 9    Anxchip.com                    sales@anxchip.com
10    (now Lowbr.com)                pw-eef7316e3dab65ef3bf48d017150bd81@privacyguardian.org
11                                   9f933c74bc1b4a9a96d1f81c89092007.protect@whoisguard.com
12                                   abuse@cloudflare.com
13                                   abuse@namecheap.com
14                                   support@mail.whoisguard.com
15
16    Axiogame.com                      sales@axiogame.com
17                                      service@wintopay.com
18                                      1603813102@qq.com
19                                      contact@privacyprotect.org
20                                      abuse-contact@publicdomainregistry.com
21
22    Flashcarda.com                    admin@flashcarda.com
23    (now Materpl.com)                 9f933c74bc1b4a9a96d1f81c89092007.protect@whoisguard.com
24                                      abuse@cloudflare.com
25                                      abuse@namecheap.com
26                                      support@mail.whoisguard.com
27
      Mod3dscards.com                   admin@mod3dscard.com
28
      (now Brujoon.com)                 yellanna@yahoo.com
29
                                        pw-9858d211ecf65d5b74c4d6d1d29acc7c@privacyguardian.org
30
                                        dabdd50dcc9c47c2976c659c23741615.protect@whoisguard.com
31
                                        abuse@cloudflare.com
32
                                        abuse@namecheap.com
33
                                        support@mail.whoisguard.com
34
35    Nx-card.com                       admin@nx-card.com
36    (now Agresu.com)                  12508e0218f046f787f411e2a92c8ddc.protect@whoisguard.com
37                                      abuse@cloudflare.com
38                                      abuse@namecheap.com
39                                      support@mail.whoisguard.com
40
41    Sxflashcard.com                   spielking@outlook.com
42                                      qiumin2019@yeah.net
43                                      sxflashcard@163.com
44                                      sxflashcard.com@domainsbyproxy.com
45                                      abuse@godaddy.com


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                                                                     CORDELL       206.467.6477
               Case 2:20-cv-00738-TSZ Document 21 Filed 07/17/20 Page 3 of 4



 1    Txswitch.com                       noreply@notice.mailzh.com
 2                                       teamxecutersx@163.com
 3                                       txswitch.com@domainsbyproxy.com
 4                                       abuse@godaddy.com
 5
      Usachipss.com                      admin@usachipss.com
 6    (now Nerged.com)                   pw-4a6563c6dcb030493c219c6c14125e65@privacyguardian.org
 7
                                         3dc9efc662604c7fa57e2936b15909ed.protect@whoisguard.com
 8
                                         abuse@cloudflare.com
 9
                                         abuse@namecheap.com
10
                                         support@mail.whoisguard.com
11
12
13
14           I declare under penalty of perjury that following is true and correct.
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16                                                 __________/s/ Alison I. Stein___________
17                                                              Alison I. Stein
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               Case 2:20-cv-00738-TSZ Document 21 Filed 07/17/20 Page 4 of 4



 1           DATED this 17th day of July, 2020.
 2
 3                                          GORDON TILDEN THOMAS & CORDELL LLP
 4                                          Attorneys for Plaintiff
 5
 6                                          By     /s/ Michael Rosenberger
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 8                                                Michael P. Brown, WSBA #45618
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13                                                mbrown@gordontilden.com
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16                                          JENNER & BLOCK LLP
17                                          Attorneys for Plaintiff
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                                            By     /s/ Alison I. Stein
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22
                                                  New York, NY 10022
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                                                  Tel: 212.891.1600
24
                                                  astein@jenner.com
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                                                  cmitchell@jenner.com
26
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                                                  Christopher S. Lindsay, Admitted Pro Hac Vice
28
                                                  633 West 5th Street, Suite 3600
29
                                                  Los Angeles, CA 90071
30
                                                  Tel: 213.239.5100
31
                                                  clindsay@jenner.com
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                                                                 CORDELL       206.467.6477
